     Case 2:22-cv-00469-FLA-PD    Document 12 Filed 03/21/22    Page 1 of 4 Page ID
                                        #:163


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12

13                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14

15     CESAR J BARRIOS GARAY, et al.             CASE NO.: 2:22-cv-00469 FLA (PDx)
                                                 Assigned to:
16
                             Plaintiffs,         Hon. Fernando L. Aenlle-Rocha, CR 6B
17          v.
18                                               CLASS ACTION
       MYDATT SERVICES INC., dba
19
       BLOCK BY BLOCK, an Ohio                   JOINT STIPULATION OF
       corporation; and DOES 1 to 10,            DISMISSAL WITHOUT PREJUDICE
20
       inclusive,
21                                               (Filed Concurrently with [Proposed]
        .                                        Order)
22

23                            Defendants.        Complaint Filed: December 17, 202
24                                               Removed: January 21, 2022
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                     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     Case 2:22-cv-00469-FLA-PD   Document 12 Filed 03/21/22   Page 2 of 4 Page ID
                                       #:164


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       MYDATT SERVICES INC., dba BLOCK BY BLOCK
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                    JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     Case 2:22-cv-00469-FLA-PD       Document 12 Filed 03/21/22          Page 3 of 4 Page ID
                                           #:165


 1            WHEREAS the parties to this action, and each of them have fully and finally
 2     resolved all issues set forth in this case.
 3            Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff
 4     Cesar J Barrios Garay (“Plaintiff”) and defendant Mydatt Services, Inc. dba Block by
 5     Block (“Defendant”) (collectively, the Parties”) by and through their counsel, stipulate

 6     and agree that the above-captioned case, designated Case No. 2:22-cv-00469-FLA

 7     (PDx), be dismissed in its entirety, and that all claims asserted in the action be dismissed

 8
       without prejudice.
              The Parties, by and through their counsel, further stipulate and agree that each
 9
       party shall bear its and/or his own costs and attorneys’ fees.
10
       IT IS SO STIPULATED.
11

12
       DATED: March 21, 2022                  BRADLEY/GROMBACHER, LLP
13

14
                                             By: /s/Marcus J. Bradley
15                                               Marcus J. Bradley, Esq.
16
                                                 Kiley Grombacher, Esq.
                                                  Lirit A. King, Esq.
17

18
                                                     Attorneys for Plaintiff

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20
       DATED: March 21, 2022                     OGLETREE, DEAKINS, NASH, SMOAK &
21                                               STEWART, P.C.
22

23
                                                 By: /s/ Chloe S. Chang
24                                                   Nicole R. McAtee
                                                     David Szwarcsztejn
25                                                   Chloe S. Chang
26                                               Attorneys for Defendant
                                                 MYDATT SERVICES INC., dba BLOCK BY
27                                               BLOCK
28
                                              3
                      JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     Case 2:22-cv-00469-FLA-PD     Document 12 Filed 03/21/22        Page 4 of 4 Page ID
                                         #:166


 1                                   SIGNATURE ATTESTATION
 2           Pursuant to Local Rule 5-4.3.4, I attest that concurrence in the filing of this
 3     document has been obtained from the other signatories.
 4

 5     DATED: March 21, 2022                         By:    /s/Chloe S. Chang
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                     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
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